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   8 Attorneys for Secured Creditor,
     HILLAIR CAPITAL MANAGEMENT, LLC
   9

  10                                  UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
  11
                                                 LOS ANGELES DIVISION
  12
       In re                                                        CASE NO. 2:19-bk-14989-WB
  13                                                                Jointly Administered:
       SCOOBEEZ, et al.1                                            2:19-bk-14991-WB; 2:19-bk-14997-WB
  14
                Debtors and Debtors in Possession.                  Chapter 11
  15
       Affects:                                                     DECLARATION OF JENNIFER NASSIRI
  16                                                                IN SUPPORT OF HILLAIR CAPITAL
            All Debtors                                            MANAGEMENT’S SUPPLEMENTAL
  17                                                                OPPOSITION TO AMAZON’S MOTION
            Scoobeez, ONLY                                         FOR AN ORDER: (A) DETERMINING
  18                                                                THAT THE AUTOMATIC STAY DOES
            Scoobeez Global, Inc., ONLY                            NOT REQUIRE AMAZON TO UTILIZE
  19                                                                DEBTORS’ SERVICES, AND (B)
            Scoobur, LLC, ONLY                                     MODIFYING THE AUTOMATIC STAY
  20
                                                                    Date:       February 25, 2020
  21                                                                Time:       10:00 a.m.
                                                                    Dept.:      1375
  22                                                                            United States Bankruptcy Court
                                                                                Edward Roybal Federal Building
  23                                                                            255 E. Temple Street
                                                                                Los Angeles, CA 90012
  24
                                                                    The Hon. Julia Brand
  25

  26
           1
               The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
  27 Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
       Boulevard, Glendale, California 91214.
  28
                                                                           Case No. 2:19-bk-14989-WB
               DECLARATION OF JENNIFER NASSIRI IN SUPPORT OF HILLAIR CAPITAL MANAGEMENT’S
                   SUPPLEMENTAL OPPOSITION TO AMAZON’S MOTION FOR RELIEF FROM STAY
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   1                             DECLARATION OF JENNIFER NASSIRI
   2          I, Jennifer Nassiri, hereby declare as follows:

   3          1.     I am of counsel at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

   4 attorneys of record for Hillair Capital Management, LLC (“Hillair”). I am a member in good

   5 standing of the state bar of California. I make this declaration in support of Hillair’s Supplemental

   6 Opposition to Amazon’s Motion for an Order: (A) Determining that the Automatic Stay Does Not

   7 Require Amazon to Utilize Debtors’ Services, and (B) Modifying the Automatic Stay (the

   8 “Supplemental Opposition”) filed concurrently herewith. I make this declaration from my own

   9 personal knowledge. 2

  10          2.     Attached hereto as Exhibit A is an email I received from Richard Esterkin, counsel

  11 for Amazon, dated December 16, 2019.

  12          3.     Attached hereto as Exhibit B is a true and correct copy of an email I received from

  13 Richard Esterkin, counsel for Amazon, dated February 17, 2020.

  14          4.     Attached hereto as Exhibit C is a true and correct copy of excerpts of the transcript

  15 of Micah McCabe, dated January 17, 2020.

  16          5.     Attached hereto as Exhibit D is a true and correct copy of excerpts of the transcript

  17 of James Wilson, in his personal capacity and as Amazon’s Rule 30(b)(6) designee, dated January

  18 28, 2020.

  19          6.     Attached hereto as Exhibit E is a true and correct copy of excerpts of the transcript

  20 of David Ojeda, dated February 13, 2020.

  21          7.     Attached hereto as Exhibit F is a true and correct copy of excerpts of the transcript

  22 of Carey Richardson, dated February 13, 2020.

  23          8.     Attached hereto as Exhibit G is a true and correct copy of a document bearing bates

  24 SCOOBEEZ-0001583 through SCOOBEEZ-0001584, marked as Exhibit 12 at the deposition of

  25 David Ojeda.

  26
          2
  27        All capitalized terms not otherwise defined herein have the meaning ascribed to them in the
       Opposition.
  28
                                                                          Case No. 2:19-bk-14989-WB
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   1         9.     Attached hereto as Exhibit H are tables, prepared under my supervision, which

   2 summarize Amazon’s scorecards for each of Scoobeez’ twelve (12) stations from June 24, 2019

   3 through February 9, 2020.

   4         10.    Attached hereto as Exhibit I is a compilation of twenty-four (24) scorecards issued

   5 by Amazon. Exhibit I includes two scorecards – for weeks 42 (October 14-20, 2019) and 51

   6 (December 16-22, 2019) – for each of Scoobeez’ twelve (12) stations.

   7         11.    Attached hereto as Exhibit J is a true and correct copy of a document bearing bates

   8 HILLAIR00000170 through HILLAIR00000172, marked as Exhibit 17 at the deposition of Scott

   9 Kaufman.

  10         12.    Attached hereto as Exhibit K is a true and correct copy of a document bearing bates

  11 HILLAIR00000628 through HILLAIR00000635, marked as Exhibit 18 at the deposition of Scott

  12 Kaufman.

  13         13.    Attached hereto as Exhibit L is a true and correct copy of document bearing bates

  14 AMAZON_H002451 through AMAZON_H002469, marked as Exhibit 18 at the deposition of

  15 Micah McCabe.

  16         14.    Attached hereto as Exhibit M is a true and correct copy of document bearing bates

  17 AMAZON_E000522 through AMAZON_E000525, marked as Exhibit 13 at the deposition of

  18 David Ojeda.

  19         15.    Attached hereto as Exhibit N is a true and correct copy of a letter, which I received

  20 via email, from Ashley Baxter, counsel for Amazon, dated February 11, 2020.

  21         16.    On information and belief, the status of the three actions referred to in the Delaney

  22 Declaration is as follows: (1) Bennie Hamilton v. Scoobeez, Inc., Amazon Logistics, Los Angeles

  23 County Superior Court Case No. BC669835 was dismissed prepetition on December 20, 2018; (2)

  24 Jassim Addal v. Amazon.com, Inc; Scoobeez Inc., Los Angeles Superior Court Case No.

  25 BC719783 dismissed Scoobeez post-petition on or about September, 2019, and Unta Key, et al v.

  26 Scoobeez, et al., San Diego Superior Court Case No. 37-2017-00018285, consolidated with Case

  27 No. 37-2017-0039527 settled at a mediation on February 6, 2020.

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                                                                        Case No. 2:19-bk-14989-WB
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   1         17.     On January 27, 2020, Shane Moses, an attorney from the law firm of Foley &

   2 Lardner, LLP, counsel to the Debtors in these cases, informed me that the last DSP station

   3 assigned to Scoobeez was the DPS1 in Rosemead, California, in or about October, 2018.

   4

   5         I declare under penalty of perjury under the laws of the United States of America that the

   6 foregoing is true and correct.

   7         Executed on this 19th day of February 2020, at Los Angeles, California.

   8 DATED: February 19, 2020

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  11                                                 JENNIFER NASSIRI

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                                                                        Case No. 2:19-bk-14989-WB
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   1                                        PROOF OF SERVICE
   2         I am employed in the County of Los Angeles, State of California. I am over the age of
     eighteen years and not a party to the within action; my business address is 865 South Figueroa
   3 Street, 10th Floor, Los Angeles, California 90017-2543.

   4          On February 19, 2020, I served true copies of the following document(s) described as:

   5 DECLARATION OF JENNIFER NASSIRI IN SUPPORT OF HILLAIR CAPITAL
     MANAGEMENT’S SUPPLEMENTAL OPPOSITION TO AMAZON’S MOTION FOR
   6 RELIEF FROM STAY

   7 on the parties in this action as follows:

   8   Ashley M. McDow                                  Richard W. Esterkin
       John A. Simon                                    MORGAN, LEWIS & BOCKIUS
   9   Shane J. Moses                                   300 S. Grand Ave., Floor 22
       FOLEY & LARDNER LLP                              Los Angeles, CA 90071-3132
  10   555 S. Flower St. 33rd Floor                     Tel. no. 213-612-2500
       Los Angeles, CA 90071                            richard.esterkin@morganlewis.com
  11   Tel. no. 213-972-4500
       amcdow@foley.com
  12   jsimon@foley.com
       smoses@foley.com
  13
       John-Patrick M. Fritz                            Dare Law
  14   David L. Neale                                   OFFICE OF THE UNITED                   STATES
       LEVENE, NEALE, BENDER, YOO &                     TRUSTEE
  15   BRILL LLP                                        915 Wilshire Blvd., Suite 1850
       10250 Constellation Blvd., Suite 1700            Los Angeles, CA 90017
  16   Los Angeles, CA 90067                            Tel. no. 213-894-4219
       Tel. no. 310-229-1234                            Dare.Law@usdoj.gov
  17   jpf@lnbyb.com
       dln@lnbyb.com
  18
       A. Klair Fitzpatrick                             Britney J. Nelson
  19   MORGAN LEWIS & BOCKIUS                           FOLEY & LARDNER LLP
       1701 Market Street                               Washington Harbour
  20   Philadelophia, PA 19103                          3000 K Street, N.W., Suite 600
       Tel. no. 215-963-5001                            Washington, D.C. 20007
  21   klair.fitzpatrick@morganlewis.com                bnelson@foley.com

  22

  23         BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on an agreement of the
     parties to accept service by e-mail or electronic transmission, I caused the document(s) to be sent
  24 from the e-mail address jennifernassiri@quinnemanuel.com to persons at the e-mail addresses
     listed in the Service List. I did not receive, within a reasonable time after the transmission, any
  25 electronic message or other indication that the transmission was unsuccessful.

  26

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                                                                         Case No. 2:19-bk-14989-WB
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   1          I declare under penalty of perjury under the laws of the State of California that the
       foregoing is true and correct.
   2

   3
             Executed on February 19, 2020, at Los Angeles, California.
   4

   5
                                                     /s/ Jennifer Nassiri
   6
                                                     Jennifer Nassiri
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                                                                        Case No. 2:19-bk-14989-WB
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